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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
In re:

UNIVERSAL TOWERS CONSTRUCTION,                          CASE NO. 6:20-bk-03799-KSJ
INC.,                                                   Chapter 11

      Debtor.
_____________________________________/

                   UNOPPOSED MOTION FOR FINAL DECREE AND TO
                     AUTHORIZE DESTRUCTION OF DOCUMENTS

          COMES NOW, Mark Healy, Liquidating Trustee (“Liquidating Trustee”) of Universal

Towers Construction, Inc. (“Debtor”), pursuant to Rule 3022 of the Federal Rules of Bankruptcy

Procedure, hereby moves for entry of a Final Decree and for authority to destroy documents and

records relating to the Debtor (“Motion”), which relief is unopposed by the sole remaining

Liquidating Trust beneficiary, and, in support thereof, states as follows:

          1.     On July 3, 2020 (the “Petition Date”), the Debtor filed a petition for reorganization

under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

          2.     On March 25, 2021, the Court entered its Order Confirming Plan of

Reorganization, as Modified, Submitted by Universal Towers Construction, Inc. (Doc. No. 315),

and approving Mark Healy as Liquidating Trustee.

          3.     The Plan has been substantially consummated within the meaning of 11 U.S.C. §

1101(2).

          4.     The Liquidating Trustee has paid in full all claims in Classes 1 through 3B, as called

for under the confirmed Plan and Confirmation Order.

          5.     All allowed administrative and priority claims have been paid in full or are being

paid in accordance with the Plan or by separate agreement with the holders of such claims. Under




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the Plan of Liquidation, no further Court approval is necessary or required in order to pay

remaining administrative claims or fees.

          6.      The Liquidating Trustee has paid all U.S. Trustee fees through the 3rd Quarter of

2022. To the extent the Liquidating Trustee owes U.S. Trustee Fees, the Liquidating Trustee will

pay those fees within ten (10) days after entry of an order granting this Motion.

          7.      There are no pending objections, adversary proceedings, or other matters to be

resolved in this case. Attached hereto as Exhibit A is the Declaration of the Liquidating Trustee,

attesting that the case has been substantially consummated (the “Certificate of Substantial

Consummation”). As set forth in the Certificate of Substantial Consummation, the only remaining

administrative costs to be paid are (i) the cost of document destruction, (ii) the Liquidating

Trustee’s attorneys’ fees, (iii) accounting fees, and (iv) the Liquidating Trustee’s fees.

          8.      In accordance with Federal Rule of Bankruptcy Procedure 3022, the Plan has been

substantially consummated and the Liquidating Trustee requests that this Court enter a Final

Decree closing the case.

          9.      The Liquidating Trustee further requests the Court authorize the destruction of

physical documents and records of the Debtor currently in his custody and control. The cost to

continue maintaining these physical copies at a third-party storage site is approximately

$150/month. The Liquidating Trustee has confirmed with his accountants that there is no need to

retain physical copies of such documents.

          10.     The sole remaining stakeholder and beneficiary of the Liquidating Trust, Universal

Towers Investimentos LTDA, through its counsel, Andrew Layden, has consented to the relief

requested in this Motion.




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          WHEREFORE, the Liquidating Trustee respectfully requests this Court (1) grant the

Motion, (2) enter a Final Decree closing this case, (3) authorizing the Liquidating Trustee to

destroy all paper copies of Debtor’s business records and documents, and (4) grant such other and

further relief as the Court deems appropriate.

          Respectfully submitted this 2nd day of February, 2023.

                                                      /s/ Christopher R. Thompson
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                                                      Attorneys for Liquidating Trustee


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on February 2, 2022, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send electronic notice to all parties

registered to receive electronic notice, including to Universal Towers Investimentos LTDA,

through its attorney Andrew Layden (alayden@bakerlaw.com).


                                                      /s/ Christopher R. Thompson
                                                      Christopher R. Thompson




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